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                                   IN THE
                        UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF
                                PENNSYLVANIA




UNITED STATES                                             :

                 v.                                       :       Criminal No. 23-159

 DENISE LODGE                                             :



                                                ORDER


        AND NOW, this           day of June, 2024, upon the defendant, Denise Lodge’s Unopposed

Motion to Continue Date for Filing of Objections to Presentence Investigation Report, it is hereby

ORDERED that the date for filing objections is extended to July 15, 2024.




                                        BY THE COURT:



                                        ______________________________________________
                                        HONORABLE CHIEF JUDGE MATTHEW W. BRANN
